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 3
     Attorney for defendant,
 4   Francisco Parra Arrellanez
 5
                           UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                  ) Case No. 13-CRS-227 GEB
     UNITED STATES OF AMERICA,      )
 9                                  ) STIPULATION AND PROPOSED
              Plaintiff,            ) ORDER CONTINUING STATUS
10                                  ) CONFERENCE AND EXCLUDING
         vs.                        ) TIME
11                                  )
     FRANCISCO ARRELLANEZ., et al., )
12                                  )
              Defendants.           )
13

14   Plaintiff, United States of America, by and through its counsel of record, and
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     Defendant, by and through counsel of record, hereby stipulate as follows:
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        1. By previous order, this case was set for a status conference and/or entry of
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18         plea to be held on October 21, 2016.
19      2. By this stipulation, all the undersigned Defendant agrees to continue the case
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           to November 18, 2016, at 9:00 a.m., for entry of plea. The parties stipulate to
21

22         exclude time until November 18, 2016, under Local Code T4. Plaintiff does

23         not oppose this request.
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        3. The parties agree, stipulate, and request that the Court find the following:
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 1
      a. The undersigned defense counsel continues to need time to review

 2       discovery, including wire recordings, and to conduct the factual and
 3
         legal investigation needed in order to prepare for trial and to advise
 4
         the client.
 5

 6    b. Counsel for Defendant believes that failure to grant the above-
 7
         requested continuance would deny the reasonable time necessary for
 8
         effective preparation, taking into account the exercise of due
 9

10       diligence.
11
      c. Due to the need for attorney preparation, the ends of justice served by
12
         continuing the case as requested outweigh the interest of the public
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14       and the defendant in a criminal trial within the time prescribed by the
15
         Speedy Trial Act.
16
      d. For the purpose of computing time under the Speedy Trial Act, 18
17

18       U.S.C. § 3161, et seq., within which trial must commence, the time

19       until November 18, 2016, is deemed excludable pursuant to 18 U.S.C.
20
         § 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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22
         continuance granted by the Court at defendant’s request on the basis

23       of the Court’s finding that the ends of justice served by taking such
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         action outweigh the best interest of the public and the defendant in a
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26
         speedy trial.

                                      2
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  1
        4. Nothing in this stipulation and order shall preclude a finding that other

  2        provisions of the Speedy Trial Act dictate that additional time periods are
  3
           excludable from the period within which a trial must commence.
  4
        IT IS SO STIPULATED
  5

  6   DATED: October 20, 2016                      /s/ Timothy E. Warriner, Attorney for
                                                   Defendant, Francisco Parra Arrellanez
  7

  8
      DATED: October 20, 2016                      /s/ Todd Pickles, Assistant
  9
                                                   U.S.Attorney, for the Government
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 11
      IT IS SO ORDERED
Dated:
 12    October 20, 2016
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